                       Case 1-17-46613-nhl                           Doc 38     Filed 03/06/18                  Entered 03/06/18 15:32:55


 Fill in this information to identify the case:

 Debtor name         Bracha Cab Corp

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)           17-46613
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Cheryl Worrel                                                         Contingent
           c/o Burns and Harris
                                                                                 Unliquidated
           233 Broadway, Ste. 900
           New York, NY 10279                                                    Disputed

           Date(s) debt was incurred                                          Basis for the claim:
           Last 4 digits of account number                                    Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Douglas Arevalo
           c/o Harold Chetrick P.C.                                              Contingent
           60 East 42nd Street                                                   Unliquidated
           Suite 445                                                             Disputed
           New York, NY 10165
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?       No     Yes


 3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Karl DeVoc
           c/oBarasch McGarry                                                    Contingent
           Salzman & Penson                                                      Unliquidated
           11 Park Place Ste 1801                                                Disputed
           New York, NY 10007
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?       No     Yes


 3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Marc Augstin                                                          Contingent
           c/o Krentsel & Guzman
                                                                                 Unliquidated
           17 Battery Place, Ste 604
           New York, NY 10004                                                    Disputed

           Date(s) debt was incurred                                          Basis for the claim:
           Last 4 digits of account number                                    Is the claim subject to offset?       No     Yes



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 Debtor       Bracha Cab Corp                                                                          Case number (if known)            17-46613
              Name

 3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 Unknown
           Progressive Insurance Co
           c/o Feldman & Feldman LLP                                             Contingent
           811 W Jericho Tpke 201W                                               Unliquidated
           attn: Jodi P. Feldman                                                 Disputed
           Smithtown, NY 11787
                                                                              Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                    Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                    On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                       related creditor (if any) listed?               account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.        $                              0.00
 5b. Total claims from Part 2                                                                             5b.   +    $                              0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.        $                                0.00




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